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VIDEO STATUS CONFERNECE

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: B. Lynn Winmill                      Deputy Clerk: Jamie Gearhart
Case No: 1:18-cr-258                        Reporter: Tammy Hohenleitner
Date: December 13, 2021                     Time: 3:05 – 3:35 p.m.
Place: Video


UNITED STATES OF AMERICA v. BABICHENKO, et al

Counsel for Government: Kate Horwitz, Christian Nafzger, Josh Hurwit, and Justin Whatcott
Counsel for Pavel Babichenko: John DeFranco and Barry Flegenheimer
Counsel for Piotr Babichenko: Andrew Masser and Paul Riggins
Counsel for Timofey Babichenko: Rob Lewis
Counsel for Kristina Babichenko: Greg Silvey and Jay Kiiha
Counsel for David Bibikov: Robyn Fyffe and Brian Pugh
Counsel for Anna Iyerusalimets: Melissa Winberg and Nicole Owens
Counsel for Mikhail Iyerusalimets: Ellen Smith and Craig Durham


A status conference was held on December 13, 2021.

The Court reviewed the Amended Pretrial Order (Dkt. 1225).

The next status conference is set for January 19, 2022 at 4:00 pm and will be held by video. A
Zoom link will be provided prior to the date of the status conference.
